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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
            Plaintiffs,             )
                                    ) Case No. 1:25-cv-00352
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
            Defendants.             )
___________________________________ )


    PLAINTIFFS’ NOTICE OF DEFENDANTS’ NON-COMPLIANCE
        WITH COURT ORDER AND EMERGENCY MOTION
                 FOR SHOW CAUSE HEARING

      Plaintiffs American Foreign Service Association (AFSA) and the American

Federation of Government Employees (AFGE) hereby notify this Court of

Defendants’ non-compliance with this Court’s Temporary Restraining Order,

ECF No. 15, and move for a hearing to show cause as to the basis for non-

compliance.

                             Factual Background

      On February 7, 2025, this Court granted in part Plaintiffs’ Motion for

Temporary Restraining Order (TRO), ECF No. 9, and entered a TRO that

provided:

              All USAID employees currently on administrative leave shall be
              reinstated until that date, and shall be given complete access to
              email, payment, and security notification systems until that date,
              and no additional employees shall be placed on administrative




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                 leave before that date. No USAID employees shall be evacuated
                 from their host countries before February 14, 2025 at 11:59 PM.

ECF No. 15.

        Plaintiffs have since become aware that Defendants have not fully

complied with the terms of this Court’s order. Plaintiffs’ members report the

following:

             •   Patricia Doe was placed on administrative leave on January 31,
                 2025, and lost systems access that same day. As of 10:52 am this
                 morning, systems access has not been restored. She has no ability
                 to assess whether she has been reinstated from administrative
                 leave. Ex. A.

             •   Quinn Doe was locked out of USAID systems on January 31. As of
                 10:48 this morning, systems access has not been restored. She has
                 no ability to assess whether she has been reinstated from
                 administrative leave. Ex. B.

             •   Rebecca Doe was also placed on administrative leave on January 31,
                 and as of 10:33 am today, lacks access to systems and cannot tell
                 whether she has been reinstated. Ex. C.

        Plaintiffs understand that, in some cases, members have had systems

access restored consistent with this Court’s order. But Plaintiffs and their

attorneys understand that access has not been restored to many others. Those

members, therefore, cannot assess whether they have been reinstated from leave.

        Further, Plaintiffs believe this Court’s order should cover Personal

Services Contractors (PSCs), who are “USAID employees.” PSCs, including those

in extremely dangerous areas of the world, report that access to their computer

systems has not been restored as of 12:27 pm today. Ex. D (Declaration of Ursula

Doe).




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      Further, some USAID employees report that they were told that access to

systems could not be restored until “political leadership signed off.” Id.

      Beyond non-compliance with the TRO, factual developments that occurred

immediately before and in the wake of the February 7 hearing also suggest that

the government intends to continue taking potentially irreversible actions to

dismantle the agency before the Court can adjudicate the lawfulness of those

actions on the merits. Those factual developments include the following:


          •   At 9:31 am on Friday, February 7, Defendant Trump posted on
              Truth Social, “USAID IS DRIVING THE RADICAL LEFT CRAZY .
              . . CLOSE IT DOWN!” 1

          •   USAID signage at the Ronald Reagan Building and International
              Trade Center—USAID’s headquarters—has been taken down. 2
              Press reports suggest that Customs and Border Protection has
              taken over the lease of the office space that had been allocated to
              USAID. 3

          •   Reports indicate that contracts and awards are being terminated en
              masse, and that the procurement team at USAID is being subject to
              hourly targets regarding execution of these terminations. 4



1 @realDonaldTrump, Truth Social (Feb. 7, 2025, 9:31 am),

https://truthsocial.com/@realDonaldTrump/posts/113963085497636545.
2 Laura Barrón-López, PHOTOS: USAID signs covered with black tape or

removed at Washington headquarters, PBS (Feb. 7, 2025),
https://www.pbs.org/newshour/nation/usaid-signs-covered-with-black-tape-or-
removed-at-washington-headquarters.
3 Garrett Haake, Customs and Border Protection takes over USAID headquarters

lease, NBC News (Feb.7, 2025), https://www.nbcnews.com/politics/donald-
trump/live-blog/live-updates-trumps-cabinet-picks-continue-advance-
rcna190380/rcrd72493?canonicalCard=true.
4 @Atul_Gawande, X (Feb. 10, 2025, 9:25 am),

https://x.com/Atul_Gawande/status/1888957407725867205.


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          •   Officials turned away USAID staffers that arrived at work this
              morning at its Washington offices. At least some USAID employees
              received messages that the “former USAID headquarters” were
              closed until further notice, and were instructed to telework. 5

                                 Request for Relief

       In light of evidence suggesting that Defendants have not complied with

this Court’s TRO and factual developments suggesting that Defendants continue

to take immediate, irreparable action to dismantle the agency, Plaintiffs hereby

respectfully request the Court schedule a show cause hearing today, directing the

government to show why they have not fully complied with this Court’s order

granting emergency relief. Plaintiffs also request any further relief that this

Court deems just and proper.


Dated: February 10, 2025                   Respectfully submitted,

/s/ Lauren Bateman                         /s/ Kaitlyn Golden
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  Ellen Knickmeyer, USAID staffers turned away from offices even after court suspends
leave order, AP News (Feb. 10, 2025), https://apnews.com/article/usaid-trump-musk-leave-
staffers-9099c61b33aa7e4bfd40e849853be3b6.


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                                      Counsel for Plaintiffs




                Certification Regarding Local Rule 7(m)

         As required by Local Rule 7(m), counsel for Plaintiffs and counsel for

Defendants met and conferred about this motion. Defendants oppose.

                                            /s/ Lauren Bateman

                                            Lauren Bateman




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